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                                                 Monthly Operating Report
                                                                     CHAPTER 11

CASE NAME: Mississippi Phosphates Corporation

CASE NUMBER:          14-51671                                        For Period:              March 1 to March 31, 2018




THIS REPORT IS DUE 15 DAYS AFTER THE END OF THE MONTH. The debtor must attach each of the following forms unless
the United States Trustee has waived the requirement in writing. File with the court and submit a paper copy to UST with an original
signature.


     Form                         Previously
   Attached                        Waived                REQUIRED REPORTS/DOCUMENTS
    (mark only one - attached or waived)
      ()                             (X)                 Comparative Balance Sheet (FORM 2-B)

       ()                                (X)             Profit and Loss Statement (FORM 2-C)

      (X)                                ()              Cash Receipts & Disbursements Statement (FORM 2-D)

       ()                                (X)             Supporting Schedules (FORM 2-E)

       ()                                (X)             Narrative (FORM 2-F)

       ()                                (X)             Copies of Bank Statement(s) and Reconciliations of Bank Balance for
                                                         all account(s)


I declare under penalty of perjury that the following Monthly Operating Report and any attachments therefor, are true and correct to the
best of my knowledge and belief.

Executed on:              4/26/2018                      Debtor(s)*                 Mississippi Phosphates Corporation
                      (date)
                                                                                    Substantively consolidated with Ammonia Tank
                                                                                    Subsidiary, Inc., Sulfuric Acid Tanks Subsidiary, Inc.

                                                         By:**                      /s/ Edwin N. Ordway Jr.

                                                         Position:                  Plan Trustee, Mississippi Phosphate Corporation Liquidating Trust

                                                         Name of Preparer:           Edwin N. Ordway, Jr.

                                                         Telephone No. of Preparer:            (212) 782-1432

* both debtors must sign if a joint petition

** for corporate or partnership debtor




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                    Mississippi Phosphates Corporation
                            MPC Monthly Fee Summary
                          Month Ended March 31, 2018

     Payment               Cash              Quarterly
       Date            Disbursements         Fee Due      Check No.   Date

January               $      29,532.56
February              $         542.94
March                 $         214.25
Total 1st Quarter     $      30,289.75   $       650.00     1018      4/26/2018

April
May
June
Total 2nd Quarter     $            -

July
August
September
Total 3rd Quarter     $            -

October
November
December
Total 4th Quarter     $            -




Quarterly Fee Summary 2D page 2
